  Case 8:02-cr-00112-JDW Document 165 Filed 09/14/06 Page 1 of 1 PageID 377




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                           Case No. 8:02-CR-112-T-27MSS

DARON L. HUTCHINSON


                         REPORT OF PRELIMINARY
            PROBATION/SUPERVISED RELEASE REVOCATION HEARING

      THIS CAUSE came on to be heard at the preliminary probation/supervised release revocation

hearing.

       At that hearing the defendant waived preliminary hearing. It is therefore

       ORDERED:

        1) That the defendant shall be held for final revocation proceedings before the District Judge

exercising supervision of the defendant;

        2) That the clerk of this court shall schedule said hearing at the earliest time available on

the Judge's calendar;

        3) That both the government and defendant shall exchange all tangible evidence which

either side intends to introduce at said hearing and shall exchange a list of witnesses no later than

two (2) days prior to the final probation/supervised release revocation hearing.

        DONE and ORDERED at Tampa, Florida this           14th      day of September, 2006.
